 

UNITED STATES DISTRICT COURT U.S. DISTRICT COUR
EASTERN DISTRICT OF WISCONSIN = EASTERN O:STRICT - W

 

 

UNITED STATES OF AMERICA, HI9 087 30 Pu 01
Plaintiff SPEPrEN C. DRIES
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v. Case No. 19-CR- 1 9 - R - 1 8 es
[21 U.S.C. § 843(a)(3)]
KATIE L. HAREID,
Defendant.
INFORMATION

 

THE UNITED STATES ATTORNEY CHARGES THAT:

1.

At all times relevant:

a) Defendant, Katie L. Hareid was a dentist licensed to practice in the State of
Wisconsin.

b) Hareid was employed as a dentist at a dental office located in Milwaukee,
Wisconsin.

c) Hareid maintained a registration with the U.S. Drug Enforcement Administration
(“DEA”) that authorized her to prescribe administer, dispense, and order controlled
substances, including Hydrocodone, Percocet, Oxycodone, and Valium.

d) Asa DEA registrant, Hareid was only permitted to prescribe, administer, dispense,
and order controlled substances for a legitimate medical purpose within the scope

of her professional practice.

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2. During the period from May 24, 2016 through November 2016, in the State and the
Eastern District of Wisconsin,
KATIE L. HAREID,
did knowingly and intentionally obtain and acquire Schedule II and IV controlled substances by
misrepresentation, fraud, and forgery, in that Hareid acquired and obtained controlled substances
in the following manner:
a. Hareid, using her own DEA registration number, wrote a prescription for a
Schedule II controlled substance in the name of another that she used to obtain
narcotics for her own use; and
b. Hareid forged prescriptions using the names of fictitious and actual patients for
Schedule IT and IV controlled substances in the names of six other dentists to obtain
narcotics for her own use; and
c. As the result of her actions, Hareid issued at least 22 fraudulent prescriptions and
obtained at least 500 tablets of Schedule II and IV controlled substances, including
Hydrocodone, Percocet, Oxycodone and Valium, for her own use.

In violation of Title 21, United States Code, Section 843(a)(3).

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Date MATTHEW D. KRUEGER
United States Attorney

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